              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                                1:06CR5-2

UNITED STATES OF AMERICA,                               )
                                                        )
Vs.                                                     )               ORDER
                                                        )
WILLIAM NEAL BOONE.                                     )
__________________________________                      )

        THIS MATTER is before the court upon defendant’s Motion for Order Allowing

Defendant to Be Placed in jail Based Drug Treatment Program.             Having considered

defendant’s Motion for Order Allowing Defendant to Be Placed in jail Based Drug

Treatment Program and reviewed the pleadings, and it appearing that good cause has been

shown for the relief sought, the court enters the following Order.




                                         ORDER

        IT IS, THEREFORE, ORDERED that defendant’s Motion for Order Allowing

Defendant to Be Placed in Jail Based Drug Treatment Program is GRANTED, and the

United States Pretrial Service’s Office is requested to place defendant in such program as

soon as possible.
                                                 Signed: May 31, 2006




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